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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MICHAELA HEMPHILL, et al.,

                      Plaintiffs,

                v.                                    Civil Action No. 1:22-cv-1391 (BAH)

 MIGUEL CARDONA, in his official capacity as
 Secretary of the United States Department of
 Education, et al.,

                      Defendants.

                     NOTICE OF FILING OF CORRECTED COMPLAINT

       PLEASE TAKE NOTICE of plaintiffs’ filing of the attached corrected complaint. This

filing corrects an error at ¶ 76 in the original complaint (ECF No. 1). Previously, this paragraph

mistakenly stated that plaintiff Mike Christou withdrew from Westwood College in 2011. The

corrected complaint amends that error, noting that he in fact graduated, not withdrew, from

Westwood in 2011. A redlined copy of the original complaint, with the correction is attached as

Ex. A. A clean copy of the corrected complaint is attached as Ex. B.


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*application for admission pro hac vice granted
**application for admission to D.D.C. forthcoming
*** Practice is supervised by one or more D.C. Bar members and admitted to the Bar under D.C.
App. R. 46-A (Emergency Examination Waiver)



                                           Attorneys for Plaintiffs




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